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                                                           CLERK,U.G.DISTRICT COURT
                                                              DlsTnlc1'OF NEVADA
                                                        BY                      DEPUTY

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
                                                 )
                                                 )          2:10-CR-547-RLH-(GW F)
 JOHN SKOOG,                                     )
                                                 )
                       Defendant.                )

                              FIN AL O R D ER O F FO R FEITU RE
         On Septem ber23,2011,theUnited StatesDistrictCourtfortheDistrictofNevada entered

 aPreliminaryOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Title l8,United
 StatesCode,Section981(a)(1)(A)andTitle28,UnitedStatesCode,Section2461(c);Title18,United
 StatesCode,Section 982(a)(1);Title 18,United StatesCode,Section 98l(a)(l)(C)and Title28,
 UnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section853(a)(1)and(a)(2)
 based upon theplea ofguiltyby defendantJOHN SKOOG to crim inaloffenses, fodkiting specitk
 propcrtyallegedintheSupersedingCrim inalInformationandagreedtointhePleaM em orandum and
 shown by tbe United Statesto have the requisitenexusto the offensesto which defendantJol4N
 SKOOG pledguilty.SupersedingCrim inalInformation, ECFN O.382;PleaM em orandum ,ECFN O.
 3844PreliminaryOrderofForfeiture,ECFN O.385;M inutesofChangeofPleaproceedings, ECFN O.
 389.
         This Courttinds the United States of Am eric,a publislwd tlw notice ofthe forfeiture in
 accordanc,
          twith the law viathe ofticialgovernm entinternd forfeiture site, w ww .forfeiture.gov,
     Case 2:10-cr-00547-RFB-PAL          Document 720         Filed 11/13/12    Page 2 of 2




 1 consecutively from September30,2011,throughOctober29,2011,notifying allthird partiesoftheir
 2 rightto petition the Court.N otice ofFiling ProofofPublication,ECF N o.413.
 3               ThisCourtfinds nopetitionswerefiledhereinbyoron behalfofanyperson orentityandthe
 4 time forfiling such petitionsand claim shasexpired.
 5               n isCourtfindsnopetitionsarependingwithregardtotheassetsnamedhereinand thetime
 6 forpresenting such petitionshasexpired,
 7               TH EREFO RE,IT IS HEREBY O RD ERED ,A DJU D GED ,AN D DECR EED thatal1right,
 8 title,and interestin the property hereinafterdescribed iscondemned,forfeited,and vested in the
 9 United StatesofAmericapursuantto Fed.R.Crim.P.32,2(b)(4)(A)and (B);Fed.R.Crim.P.
10 32.2(c)(2);Title l8,United StatesCode,Section 981(a)(1)(A)and Title28,United StatesCode,
1l Section246l(c);Titlels,UnitedStatesCode,Section982(a)(1);Title18,UnitedStatesCode,Section
12 98l(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Title21,UnitedStatesCode,Section
13 853(a)(1)and(a)(2);andTitle21sUnited StatesCode,Section853(n)(7)andshallbedisposed of
14 according to law :
15               a.    K im berPro CmT'
                                      F1l,.45 calibersem i-autom aticpistol,serialnumberF.R.104366'
                                      .                                                           ,
16               b.    Ballisticvest-bluein color,no serialnumber;and
17jj             c.    any and a1lam munition.
     .
                                                                                                          1
18              IT IS FU RTH ER O RD ERED ,                                                               1
                                              ADJUDGED,AND DECREED thatany and allforfeited ;
19       funds,includingbutnotlimited to,currency,currency equivalents,certificatesofdeposit, asw ellas
20 anyincom ederived asaresultoftheUnitedStatesofAm erica'sm anagem entofanypropertyforfeited
21 herein,andtheproceedsfrom thesaleofanyforfeitedproperty shallbedisposedofaccordingtolaw .
22              The Clerk is hereby directed to send copies ofthis Orderto a1lcounselofrecord and three
23       certitiedcopiesto theUnited StatesAttonwy'sOftice.

24              DATEDthis Z*V dayof                         1 . ,2012.
25
26
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